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                        CURRICULUM VITAE

                  Martyn Christopher Davies BSc PhD
                       FRPharmS CChem FRSC


                Professor in Biomedical Surface Chemistry
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                                 CURRICULUM VITAE


             Professor Martyn Christopher Davies BSc PhD


                                Male: British; 57 years of age;
                      Born 6th February, 1957 in Pontypridd, South Wales.

                   Married Lesley Anne Davies MRPharmS, 23rd May 1987.
       We have two children, Benjamin Tomus (24yrs) and Bethan Lucy Penelope (23yrs).



     BUSINESS ADDRESS                                         HOME ADDRESS

     Laboratory of Biophysics and Surface Analysis            4 Hall Grounds Drive
     School of Pharmacy                                       Colston Bassett
     The University of Nottingham                             Nottinghamshire NG12 3FX
     Nottingham NG7 2RD

     Tel:   0115 951 5063
     Fax:   0115 951 5110

     E-mail: Martyn.Davies@Nottingham.ac.uk



     EDUCATION
     1977-1980     BSc (1st Class) at the Department of Pharmacy, Brighton Polytechnic final
                   year project on “Applications of Synthetic Biomedical Polymers in
                   Advanced Drug Delivery” (with Professor C Marriott).

     1981-1984     PhD studies on the Surface Energetics of Hydroxypropylmethylcellulose,
                   entitled “Properties of aqueous film coatings”. (Supervisor - Professor J M
                   Newton) at the Chelsea School of Pharmacy, Kings College, University of
                   London, awarded 1985.


     EMPLOYMENT RECORD
     1981          Pre-registration pharmacy graduate at Pharmacy Department, University
                   College Hospital, London (six months), and Research and Development
                   Department, Roche Products Ltd., Welwyn Garden City, Herts (six
                   months).

     1984-1985     Department of Pharmacy, University of Manchester.
                   Temporary Lecturer with responsibilities for teaching physical chemistry.


     1985-1991     Department of Pharmaceutical Sciences, University of Nottingham.
                   Lectureship in Drug Delivery.

     1991-1996     Readership in Biomedical Surface Chemistry.
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     1996-         Professor of Biomedical Surface Chemistry (50% from 2007)

     1999-2000     Deputy Head of School of Pharmaceutical Sciences

     2000-2003     Head, The School of Pharmaceutical Sciences and The Pharmacy School



     NATIONAL OR INTERNATIONAL RECOGNITION

     (A)     DISTINCTIONS AND PRIZES

     1980 Awarded the Edmund White prize for Best Pharmacy student of the final year at
          Brighton Polytechnic in June 1980.

     1988 Recipient of the 1988 Pharmatec prize ($5,000) for novel work in the
          Pharmaceutical Sciences in recognition of my surface analysis studies.

     1991 Recipient of one of the five 1991 Pfizer Academic Awards in recognition of the
          excellence of my recently published research (£5,000). The citation reads "For his
          contribution to the structural characterization of pharmaceuticals and biomaterials
          through surface analysis to optimize the rational design of drug delivery
          systems".

     1994 Recipient of the UK ESCA Users’ Group Science Prize. The citation reads “for work
          which has been judged to be of outstanding quality and an important contribution
          to the field of surface science”.

     1997 Recipient of Controlled Release Society’s Young Investigator Award in recognition
          for my studies on probing biomolecular interactions with materials using surface
          analytical techniques.

     2000 Science Chairman, Millennium Meeting British Pharmaceutical Conference,
          Birmingham International Conference Centre (1700 attendees).

     2001 Elected Scientific Secretary, Controlled Release Society.

     2003 Fellow of the Royal Society of Chemistry
          Fellow of the American Institute for Medical and Biological Engineering
          Recipient of the GlaxoSmithKline International Achievement Award 2003
          presented at the British Pharmaceutical Conference September 2003
          Fellow of the Royal Pharmaceutical Society of Great Britain

     2005 Member, RAE 2008 Pharmacy Panel

     2007 Queen’s Award for Enterprise in the category of “Innovation” received by
          Molecular Profiles and a separate award to the School of Pharmacy

     2009 Elected Vice-President, Controlled Release Society

     2010 Fellow of the Academy of Pharmaceutical Sciences
          Fellow of the Controlled Release Society

     2011 Queen’s Award for Enterprise in the category of “Innovation” received by
          Molecular Profiles

     2011 President, Controlled Release Society (2011-12)
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     Our Group and School has attracted recognition from within the University being chosen
     to host visits from dignitaries (including The Secretaries of State for Education and Trade
     and Industries - John Patten and Michael Heseltine; The Chief Scientific Officer to the
     Cabinet; Sir Mark Richmond; Sir Richard Sykes, Chairman of GlaxoSmithKline on
     opening of the GSK Nanotechnology Laboratory; Professor Aaron Klug, President of
     Royal Society on occasion of opening Institute of Pharmaceutical Sciences; The Chief
     Executive of the BBSRC - Professor R Baker; Science Minister - Lord Sainsbury)
     reviewing technology transfer exploitation within the School and to advertise the
     research profile of the University, the City and DTI Link Schemes. The Group contributed
     by invitation to an Exhibition on Nanotechnology at the Science Museum and have been
     invited to be hosts of a number of national scientific and professional meetings.

     (B)    INVITATIONS TO ADDRESS CONFERENCES AND LEARNED SOCIETIES

     During my career, I have had a number of invitations to address conferences and
     learned societies at a national and international level. A selection are shown below:

     1987    -   Surface analysis techniques, Drug Delivery Workshop, Controlled Release
                 Society, Virginia, USA.
             -   Surface Characterization of Biomaterials, American Chemical Society,
                 Surface and Colloid Science division, Ann Arbor, USA.
             -   Spectroscopy of Polymers, a Royal Society of Chemistry (MACRO Group)
                 Meeting in honour of Professor Irwin, Grasmere.
             -   Life Science Group, Eastman Kodak Laboratories, Rochester, USA.

     1988    -   Biomaterials Symposium, University of Toronto, Canada.

     1989    -   Surface Characterization of Pharmaceuticals, Royal Society of Chemistry
                 meeting, Bradford University.
             -   Interfaces in Biomaterials Sciences, European Materials Conference,
                 Strasbourg, France.
             -   Polymer Latex 89, Rubber and Plastics Research Association, London.
             -   New Analytical Techniques for Polymer Analysis, Royal Society of
                 Chemistry meeting, Loughborough University.

     1990    -   10th Celebration meeting, UK ESCA User Group, ICI Advanced Materials
                 Centre, Wilton, Middlesborough.
             -   Characterization of Macromolecules used as Pharmaceutical Excipients,
                 Swedish Academy of Sciences, Gothenburg.
             -   Polymer surfaces, American Chemical Society symposium, Boston, USA.
             -   STM of biomolecules, Royal Society of Chemistry meeting, Nottingham
                 University.
             -   Technical Forum, 3M, Loughborough.

     1991    -   Polymer Surface and Interfaces II, Royal Society of Chemistry and MACRO
                 group meeting, Durham University.
             -   Surface science in the 1990's, UKESCA Users Group, Surrey University.

     1992    -   Polymer surface analysis, Royal Society of Chemistry meeting, UMIST.
             -   Surfaces and properties of biomaterials, Joint Kodak/CSMA meeting,
                 UMIST.
             -   Surface analysis of biomaterials, World Congress of Biomaterials,
                 Germany.
             -   Molecular Surfaces symposium, American Vacuum Society, Germany.

     1993    -   Science Link, National Association of British Science, University of Keele.
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            -   Biomaterial Interfaces Symposium, American Chemical Society Meeting,
                Chicago, USA.

     1994   -   AMES Symposium, Department of Chemistry, University of Edinburgh.
            -   Visiting Lecture Programme, sponsored by Courtaulds Group Research.
            -   Interactions at Surfaces, Royal Society of Chemistry Symposium, Imperial
                College, University of London.

     1995   -   Eidgenossiche Technische Hochschule (ETH), Zurich.
            -   Biomedical Polymer Surfaces Symposium, American Chemical Society,
                Anaheim.
            -   Surface Contamination Meeting, Centre for Material and Surface
                Analysis, Manchester, September.
            -   New Opportunities in Surface Science, Interdisciplinary Research Centre
                in Surface Science, University of Liverpool, October.
            -   Biomaterial Interfaces at the Nanoscale, American Vacuum Society,
                Minneapolis, November.
            -   Groupe Thematique de Recherche sur les Vecteurs, National French
                Advanced Drug Delivery Society, Agen, December.

     1996   -   Colloids Characterization Symposium, International Pharmaceutical
                Association, March 7 - 9, Mainz, Germany.

     1997   -   American Chemical Society symposium, San Francisco, April 1997.
            -   Surface analysis of biomaterials, ECASIA 97, Gothenburg, June 1997

     1998   -   Biocolloids, Royal Soceity of Chemistry-Faraday Division, University of
                East Anglia, April 1998.
            -   5 th General Meeting of the Belgian Polymer Group, Universiteit Gent,
                Ooestende. May 14th-15th 1998
            -   Israel Controlled Release Society, Jerusalem, September 1998.

     1999   -   The 3rd International Symposium on Frontiers in Biomedical
                Polymers including Polymer Therapeutics, Hotel Lake Biwa, May 23rd-
                27th Japan.
            -   SIMS XII International Conference on Secondary Ion Mass
                Spectrometry and Related Topics, Brussels, September 5th-10th 1999.

     2000   -   Millennium Microscopy Meeting, Open University, Middlesex, February
                3rd-4th 2000
            -   Institute of Physics Congress, Brighton, March 27th-30th 2000. (Dr CJ
                Roberts deputised)
            -   Croucher Foundation Advanced Study Institute in Frontiers in
                Surface Analysis and their novel applications, Hong Kong May 14th-19th
                2000 (Dr PM Williams deputised)
            -   10th International Conference on Colloid and Interface Science,
                Bristol, 23rd-28th July 2000.
            -   Millennium Science Conference of Royal Pharmaceutical Society of
                Great Britain, Birmingham International Conference Centre, September 10-
                13th, 2000.
            -   47th International Symposium American Vacuum Society, Boston MA,
                October 2nd-6th 2000.
            -   Special Interest Group Research of the Institute of Food Science &
                Technology, South Bank University, London 11th October 2000 (Dr PM
                Williams deputised).
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     2001       -   10th International Symposium on Recent Advances in Drug Delivery
                    Systems, Salt Lake City, 19th-22nd February 2001.
                -   6th International Symposium on Polymers for Advanced Technology,
                    Jerusalem, 3rd-7th September 2001
                -   AAPS 2001 Annual Meeting, Colorado, USA, 21st-25th October 2001.

     2002       -   5th International Symposium on Polymer Therapeutics: From
                    Laboratory to Clinical Practice, Wales, 3rd-5th January 2002
                -   29th Annual Meeting Controlled Release Society, Seoul, Korea, 20-25
                    July 2002

     2003       -   AstraZeneca STAT Complex Parenterals Symposium, Macclesfield
                -   Joint CRS-Utah Polymer Therapeutics Meeting – Biomolecular
                    interactions in drug delivery, March 3rd-6th 2003
                -   PITTCON 2003 – Advances in Scanning Force Microscopy: Towards
                    Molecular Recognition Imaging” Symposium, Orlando, USA, 8th-14th
                    March 2003 (Dr P M Williams deputized)
                -   30th Annual Meeting Controlled Release Society, Glasgow, 19th-23rd July
                    2003

     2004       -   RSC Biological Interactions at Surfaces:Chemistry and Biomaterials
                    Workshop, London, 15th January 2004
            -       31st Annual Meeting Controlled Release Society, Hawaii, 12th-16th June
                    2004
            -       IUPAC 40th International Symposium on Macromolecules, Paris 4th-9th
                    July 2004
            -       51st American Vacuum Society Symposium, Anaheim, USA, 14th-19th
                    November 2004
            -       BioLiège Bioforum, Liège, Belgium, 30th November 2004
            -       Australasian Pharmaceutical Science Association, Melbourne, 4th-7th
                    December 2004

     2005 -         12th International Symposium on Recent Advances in Drug Delivery
                    Systems, Salt Lake City, 21st-24th February 2005
            -       32nd Annual Meeting Controlled Release Society, Miami, 20th-22nd June
                    2005
            -       First International Symposium on Biointerface Science, New Bern,
                    USA,12th-14th May 2005
            -       3rd Nanomedicine Conference, Baltimore, 25th-27th September 2005

     2006 -         Gordon Research Conference, Montana 20-25th August 2006
          -         29th Macromolecular Symposium, Hamburg, 1st-4th October 2006

     2007 -         34th Annual Meeting Controlled Release Society, Long Beach, 12-16th
                    July 2007

     2008 -         35th Annual Meeting Controlled Release Society, New York, 12-16th July
                    2008
                    Gordon Research Conference, Aussois, 14-19th September 2008 (Dr M
                    Alexander deputized)

     2009 -         UK Surface Analysis Forum, Nottingham, 1st July 2009

     2010 -         Leading Edge Lectures, University of Toronto, March 2010
           -        2nd Innovation in drug delivery conference: from preformulation to
                    development through innovative evaluation process, co-organized by
                    APGI and ADRITELF, Aix en Provence, France, October 3rd-6th, 2010
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     2012 -      12th International Symposium, CRS India Chapter, Keynote speaker,
                 Mumbai, India, 9th-10th February 2012
            -    14th Annual Formulation and Delivery of Bioactives Conference,
                 Dunedin, New Zealand, 15th-16th February 2012
            -    39th CRS Annual Meeting and Exposition, Quebec City, Canada, 15th-18th
                 July 2012
            -    16th International Pharmaceutical Technology Symposium, Antalya,
                 Turkey, 10th-12th September 2012
            -    10th International Nanomedicine and Drug Delivery Symposium,
                 Atlantic City, USA, 28th-30th October 2012

     2013 -      Association of Pharmaceutical Scientists Annual Conference,
                 Edinburgh, Scotland, September 2013

     2014 -      Israel Controlled Release Society Meeting, Maalot, Israel, September
                 2014.
            -    Drug Delivery Symposium, Leuven, Belgium, September 2014
            -    American Vacuum Society, Baltimore, USA, November 2014

     I have also presented seminars at a number of UNIVERSITY DEPARTMENTS AND RESEARCH
     INSTITUTES INCLUDING:

     Materials Science      - ETH, Surrey, Sheffield and London (Queen Mary and Westfield)
                              Universities.
     Chemistry              - Edinburgh, UMIST, Nottingham, Reading, Bristol and Gent
                              Universities
     Pharmacy               - Manchester, Nottingham, UMIST, Strathclyde, Bath, Aston,
                              Cardiff, Marburg, Utah, Regensburg, National University of
                              Ireland and London (Kings College and The School of
                              Pharmacy) Universities.
     Biochemistry           - Keele University
     Biophysics             - The Randall Institute, Kings College, London University
     Physics                - The Cavendish Laboratory, Cambridge University

     I have also presented lectures to a number of research groups within the Pharmaceutical
     and Chemical Industry including Ciba Geigy, Cyanamid, Glaxo, Merck, Sharp and
     Dohme, Courtaulds, SmithKline Beecham, Pfizer, Astra Zeneca and Roche.


     (C) EXTERNAL EXAMINERSHIPS AND REFEREE DUTIES

     (I)    EXTERNAL EXAMINER - UNDERGRADUATE STUDIES

            1993-1997 - Physical and Surface Chemistry, Biopharmaceutics, Pharmaceutical
                        Technology and Advanced Drug Delivery modules of the BPharm
                        degree, The School of Pharmacy, Kings College, University of
                        London.

            2003-2007 - MSc Pharmaceutical Technology, School of Pharmacy, King’s
                        College London

            2003-2007 - The School of Chemical Sciences and Pharmacy, University of East
                        Anglia

            2004-2007 - The School of Pharmacy and Pharmacology, University of Bath
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            2007-2011 - School of Pharmacy, National University of Ireland

            2010-2013 – School of Pharmacy, University of Brighton

            2011-2014 - School of Pharmacy, University of Central Lancashire


     (II)   EXTERNAL EXAMINER - POSTGRADUATE STUDIES

            External PhD examiner at the following Departments and Universities:

            Pharmacy         -   University of Wales at Cardiff (2).
                             -   University of Bath
                             -   University of Belfast
                             -   Kings College, University of London (4)
                             -   University of East Anglia (2)
                             -   School of Pharmacy (2)

            Chemistry        - University of Durham (2)
                             - University of Southampton (MPhil)
                             - University of Manchester Institute of Science and Technology
                               (2)
                             - University of Coleraine
                             - Sheffield Hallam University
                             - Catholic University of Louvain

            Physics          - HH Wills Laboratories, University of Bristol (2)
                             - DeMontfort University
                             - The Cavendish Laboratory, University of Cambridge

            Biotechnology    - Institute of Biotechnology, University of Cambridge (2)
                             - University of Colraine

            Materials Sci.   - University of Sheffield (3)
                             - University of Surrey

            Chemical         - Imperial College, London
            Engineering

            I have also acted as internal examiner to numerous PhD viva-voce examinations
            within the School of Pharmacy.

     (III) REFEREE - JOURNALS

            I regularly act as a referee for a variety of surface, analytical, biomaterials,
            biophysical and pharmaceutical journals including:

            Analytical Chemistry, Colloids and Surfaces, Surface and Interface Analysis,
            Biomaterials, Journal of Colloid and Interfacial Science, Pharmaceutical Research,
            Journal of Microscopy, Carbohydrate Polymers, Biomaterials, Journal of
            Controlled Release, Macromolecules, Langmuir and Materials in Medicine.


     (IV)   REFEREE - RESEARCH GRANTS

            Since 1987, I have been asked to act as referee for numerous grant applications:
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            BBSRC, EPSRC, AFRC, Leverhulme Trust, The Wellcome Trust and Medical
            Research Council.

            I was a member of the Medical Engineering Subcommittee, Materials
            Commission, EPSRC (1995-1997).

           I am a member of the EPSRC Life Sciences College (1999-).

            RPSGB Academic Excellence Awards Panel member (2006-2010)


     (V)    CONFERENCE/MEETING ORGANISATION SINCE 1990

     1990 Co-organiser and host of Royal Society of Chemistry Biological Methods Group
          “1st UK International Meeting on Biological Applications of STM”. Nottingham 23-
          24th September 1990 (165 Participants).

     1993 Co-organiser and host for Department of Trade and Industry “New Business
          Opportunities in Nanotechnology and Biosciences Workshop” on “Scanning Probe
          Microscopy”. Nottingham 1st September 1993 (15 participants).

     1994 Organiser and host of UK ESCA User Group Meeting “Honey, I shrunk the
          sample”, Nottingham 14th January 1994 (115 participants).
          Co-organiser and host of Royal Society of Chemistry Biological Methods Group
          Meeting on “Surface Plasmon Resonance: current applications and new horizons”.
          Nottingham 11th July 1994 (80 participants).

     1995 Co-organiser and host, Inaugural UK Controlled Release Society Meeting
          “Controlled Release in the UK - current perspectives and future horizons”,
          Nottingham, Jan 9th, 1995 (140 participants)

            Co-organiser of Controlled Release Society Meeting Workshop “Novel
            approaches to biomaterials characterisation”, Seattle, July 30th - August 2nd
            1995.

            Organiser and host of the Royal Microscopic Society “Scanning Probe
            Microscopy”, Nottingham, April 24-25th, 1995

            Co-organiser and host of the EPSRC Nanotechnology Meeting “Biological
            Applications of Nanotechnology”, Nottingham, June, 1995.

            Member of Organising Committee, European Biomaterials Conference, Porto,
            September 1995.

     2000 Science Chairman, Millennium meeting of British Pharmaceutical Conference,
          Royal Pharmaceutical Society of Great Britain, Birmingham International
          Convention Centre, September 2000 (1700 attendees).

            Co-organiser (with Dr Jane Lawrence, Kings College, University of London),
            Biological Sessions, and Member of Organising Committee, 10th International
            Conference on Colloid & Interface Science, Bristol, June 2000 (150-200
            attendees in sessions).

           Symposium Session Organiser, “The Genomic Revolution; an update”;
           British Pharmaceutical Conference, Royal Pharmaceutical Society of
           Great Britain. Glasgow Conference Centre, September 2001.
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     2001 Member of Advisory Board for the 5th International Symposium on Polymer
          Therapeutics: From Laboratory to Clinical Practice (with Ruth Duncan and
          Helmut Ringsdorf & International Advisory Committee), Welsh School of
          Pharmacy, Cardiff University 3-5 January 2002.

     2002 Scientific Secretary, 29th Annual Meeting Controlled Release Society, July
          20-25, Seoul, Korea
          Organising Committee and Session Chair, Surface Engineering for
          Competitive Advantage, Advanced Materials Research Institute

     2003 Programme Organising (with J Kopeck, K Park, J Anderson, S-J Lee), Joint CRS-
          Utah Polymer Therapeutics Meeting, March 3-5
          Scientific Secretary, 30th Annual Meeting Controlled Release Society, July 19-
          23, Glasgow
          Special Drug Delivery Session in Honour of Bob Davis, British Pharmaceutical
          Conference, Harrogate, September 15-17

     2004 Scientific Secretary, 31st Annual Meeting Controlled Release Society, 12th-
          16th June 2004, Hawaii, USA

     2005 Organising Committee, 3rd Symposium on Nanomedicine and Drug
          Delivery, October 2005, Baltimore
          Scientific Secretary, 32nd Annual Meeting Controlled Release Society, 20-
          22nd June, Miami, USA

     2006 Scientific Secretary, 33rd Annual Meeting Controlled Release Society,
          Vienna, 22nd-6th July 2006
          Organising Committee, 4th International Nanomedicine and Drug Delivery
          Symposium, Omaha, 8-10th October 2006

     2007 Scientific Secretary, 34th Annual Meeting Controlled Release Society, Long
          Beach, 7th-12th July 2007


     (VI) SERVICE TO PROFESSIONAL AND LEARNED SOCIETIES

           Member of UK ESCA Users Group Committee (1991-95)

           Founder of the UK Controlled Release Society, Acting-Chairman of the Steering
           Committee, Elected Secretary (1994-97); Organiser of Inaugural Meeting.

           Member of the Controlled Release Society Best Conference Paper Committee
           (1993-96) and Global Chapters Committee (1994-7)

           Member of the Biomaterial Interfaces Committee of the American Vacuum Society
           (1994-99; 2000-1).

           Member of the Board of Governors, Controlled Release Society (1997-2000)

           Member, National Initiative Drug Delivery, Royal Pharmaceutical Society of Great
           Britain (1998).

           Member, Academy of Pharmaceutical Sciences and Science Committees, Royal
           Pharmaceutical Society of Great Britain (1998-2000)
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           Member, Science Committee, Royal Pharmaceutical Society of Great Britain
           (1999-2001).

           Scientific Secretary and Member of Board, Controlled Release Society (2001-
           2007)

           Fellow, American Institute for Medical and Biological Engineering (2003-)

           Fellow, Royal Pharmaceutical Society (2003-)

           Member, Academy of Pharmaceutical Sciences Advisory Board (2003-7)

           Member, Royal Society of Medicine (2007-)

           Member, RAE 2008 Sub Panel 13 – Pharmacy (2006-8)

           Member, Department of Health, Modernising Pharmacy Careers Programme
           Board (2009)

           Vice-President and Member of the Board, Controlled Release Society (2010-13)

           Fellow, Academy of Pharmaceutical Sciences (2010-)

           President and Member of the Board, Controlled Release Society (2011-12)



     (VII) MEMBERSHIP OF EDITORIAL BOARDS

           Editor: Nanobiology (1993-1999)
           Associate Editor: Drug Delivery and Translational Research (2011-)
           Guest Editor: The Analyst (1994: Scanning Probe Microscopy Edition)

           Editorial Boards:

           -   Advanced Drug Delivery Reviews (2000-10)
           -   European Journal of Pharmaceutical Sciences (2001-)
           -   Journal of Controlled Release (2004-)
           -   Journal of Biopharmaceutics and Biotechnology (2005-)
           -   Journal of Pharmaceutical Sciences (2008-)
           -   Pharmaceutical Nanotechnology (2010-)
           -   Journal of Drug Delivery and Translational Research (2010-)

     (VII) MEMBERSHIP OF LEARNED SOCIETIES

           -   Royal Pharmaceutical Society of Great Britain (Fellow, retired)
           -   Royal Society of Chemistry (Fellow)
           -   Royal Society of Medicine
           -   American Chemical Society
           -   American Vacuum Society
           -   American Association of Pharmaceutical Scientists
           -   American Institute for Medical and Biological Engineering (Fellow)
           -   Controlled Release Society (Fellow)
           -   Royal Microscopic Society
           -   UK Academy of Pharmaceutical Scientists (Fellow)

     (VIII) DIRECTORSHIPS & INDUSTRIAL ADVISORY BOARDS
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           -   Co-Founder, Director and Chairman, Molecular Profiles (1998-13)
           -   Advisor to Board, Columbia Laboratories Ltd (2013-)
           -   Member, Scientific Advisory Board, Quadrant Healthcare Ltd. (1998-2001).
           -   Director, Regentec (2001-6)
           -   Member, Board, Critical Pharmaceuticals (2007-10)

     DEPARTMENTAL and UNIVERSITY DUTIES

     DEPARTMENT DUTIES

           -   Chair, Researchers Forum Committee (2008-12)
           -   Member, Knowledge Transfer Committee (2009-), Chair (2011-)
           -   DTC First Year Postgraduate Tutor, EPSRC and AstraZeneca Doctoral Training
               Centre in Targetted Therapeutics (2008-)
           -   Member, School Management Group (2011-)
           -   Head, The Pharmacy School and The School of Pharmaceutical Sciences
               (2000-2003)
           -   Deputy-Head, School of Pharmacy (1997-2000)
           -   Chair, Departmental Postgraduate Committee (1997-9)
           -   Chair, Institute of Pharmaceutical Sciences Development Committee (1997-
               2000)
           -   Member, Department Management Group (1995-2008)
           -   Member, Curriculum Review Committee (1994-97)
           -   Member, Departmental Strategy Group (1993-2008)
           -   Member, Course Review Committee (1993-98)
           -   Member, Research Committee, Teaching Quality Audit (1993-99)
           -   Department Postgraduate Tutor (1989-96)
           -   Coordinator, Drug Delivery section of undergraduate course (1985-96)
           -   Undergraduate admissions (1985-)
           -   Academic Tutor and Mentor (1985-)

     UNIVERSITY DUTIES

           -   Member, Innovation Board (2011-)
           -   Member, Campaign Strategy Board (2013-)
           -   Member, Technical Grading Panel (2000-2003)
           -   Member, Senate (2000-2003)
           -   Member, Strategy Group for Information Services Committee (1999-2003).
           -   Member, Materials Strategy Committee (1998-2001).
           -   Inaugral co-Chair, Cancer Research Center at Nottingham (CRN) (2003-4)
           -   Chair, University Postgraduate Training Committee (1996-98)
           -   Vice Dean, Health Sciences, Life Sciences and Agricultural Division (43 Depts)
               Nottingham University Graduate School (1995-97)
           -   Member of 19 University Appointment Boards for lectureships and Professorial
               chairs (1987-)
           -   Member, University Student Affairs Committee (1995-97)
           -   Member, Science, Agricultural and Medical Postgraduate Studies Committees
               (1995-1998)


     RESEARCH SUPERVISION

     (A)   POSTGRADUATE STUDENTS (6 CURRENT; OVER 70 SINCE 1985)
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     From 1986, I have co-supervised over 70 PhD students to successfully complete and
     defend their PhD thesis. Many have gone onto postdoctoral fellowships (including
     Nottingham (4), Cambridge, Strathclyde, Surrey, London, MIT (2), ETH (Zurich),
     University of Washington, Georgia Institute of Technology, University of Michigan), many
     hold prominent posts within the Pharmaceutical, Chemical, Polymer & Diagnostics
     Industries and 1 has moved successfully into Pharmacy Management. My first student is
     now Director for Drug Delivery of a multinational pharmaceutical company.

     I am currently co-supervising 8 PhD students (2, 2, 2 in the 1st, 2nd and 3rd year
     respectively).

     (B)    POSTDOCTORAL RESEARCH WORKERS (3 CURRENT, OVER 40 SINCE 1985)

     I have co-supervised more than 40 postdoctoral fellows since 1985 whose previous
     scientific training ranged from Biochemistry, Surface Science, Polymer Chemistry,
     Electronic Engineering, Biophysics, Physics, Physical Chemistry, Analytical Chemistry and
     Pharmaceutical Sciences.

     I am proud that 20 have moved onto academic postions in University Science (7) and
     Pharmacy (8) Departments and 5 hold personal chairs (Professors) in internationally
     leading research Schools. Some have moved onto further prestigious postdoctoral
     fellowships, where 2 have been awarded a BBSRC Advanced Training Fellowship and 2
     have been awarded an EPSRC Advanced Training Fellowship.

     I currently co-supervise the work of 3 postdoctoral research fellows within my research
     group.

     RESEARCH GRANTS and CONTRACTS

     (I)    SPECIAL RESEARCH STUDENTSHIPS AWARDED
     1985    -   SERC Quota studentship.
     1986    -   2 SERC Quota studentships.
     1987    -   2 SERC Case awards with Cyanamid and Polymer Laboratories.
     1988    -   2 SERC Instant and 2 SERC Quota awards.
     1989    -   2 SERC Quotas and 1 SERC Instant award.
     1990    -   SERC Case award with Celltech, 1 EEC Brite awards, and 1 from industry
                 (Dow).
     1991    -   2 EEC Brite awards, 1 MAFF/DTI award and 2 from industry (Viggo, Kelco).
     1992    -   SERC Quota award, 1 EEC Brite award and 1 MAFF/DTI award.
     1993    -   1 EEC Brite awards, 1 SERC Case award with SmithKlineBeecham and one
                 award from industry (Courtaulds)
     1994    -   1 SERC Case Award with Kodak Ltd, SERC Quota award and one award from
                 industry (Alpha Beta Ltd)
     1995    -   1 BBSRC Quota award, 2 Departmental CASE awards (Oxford Molecular Ltd
                 and SmithKline Beecham), one award from industry (Lilly Group Research)
     1996    -   2 BBSRC Quota awards and 2 BBSRC Case awards (SmithKline Beecham
                 and Severn Trent)
     1997    -   BBSRC Quota awards, 1 BBSRC and EPSRC Case awards (SmithKline
                 Beecham and Biocompatibles Ltd). 1 special EPSRC studentship unfilled.
     1998    -   BBSRC Quota award and EPSRC Case Awards (Smithkline Beecham) and 2
                 University awards.
     1999    -   BBSRC Case award (Glaxo Wellcome)
     2000    -   BBSRC Case award (Biocompatibles)
     2001    -   1 BBSRC Quota award, 1 BBSRC Committee Studentship – “Nanometre-
                 scale surface chemical characterization of engineered biomimetic materials”
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     2002    -     BBSRC Committee Studentship – “Molecular-scale characterization of Gene
                   Therapy Delivery Systems”
     2003    -     BBSRC Case Award (GlaxoSmithKline), EPSRC Case Award (Avecia)
     2006    -     BBSRC Strategic Studentship “Nanoscale analysis of polymer microarrays
                   for biomaterial stem cell interaction”
             -     EPSRC Studentship with National Physical Laboratory
     2007    -     Industrial Studentship (Unilever)
     2008    -     Industrial Studentship (3M)
             -     EPSRC Doctoral Training studentship
     2009    -     Industrial Studentship (3M)
             -     RSPGB Academic Excellence Award Studentship
     2010    -     Industrial Studentship (Abbott)


     (II)   GENERAL RESEARCH AWARDS

     The detailed list of the general research awards obtained since 1985 is shown below.
     Most are collaborative with grants with colleagues in the Laboratory of Biophysics &
     Surface Analysis. No contract research awards are shown.

     1986     £2,000         Nuffield Foundation Award. "The surface analysis of oral
                             vaccines".

              £4,290         SERC, award for studies at SERC regional centre,"Surface
                             analysis of biomaterials and pharmaceuticals with SIMS".

     1987     £36,205        SERC, "ToF-SIMS analysis of protein adsorption".

                 £41,000     SERC, "Colloidal carriers for drug targeting", (cooperative award
                             with ICI Pharmaceuticals); (with Prof S S Davis).

              £23,500        Reckitt and Colman, "Novel microparticulate systems for oral
                             drug delivery".

              £9,000         Cyanamid, "Polymer-drug-conjugates", (with Drs P.N.Shaw and
                             I.S.Blagbrough).

              £7,000         Polymer Laboratories "Immobilization of biomolecules to
                             colloid surfaces".
              £42,000        Pharmatec "Controlled release of drugs from polymeric
                             matrices", (with Dr C.D.Melia and Prof S.S.Davis).

     1988     £60,000        MRC, "Colloidal systems for aids vaccine" (with Dr P Williams and
                             Prof S S Davis).

              £30,000        WHO, "Particulate systems as oral vaccines" (with Dr P Williams
                             and Prof S S Davis).

              £67,775        SERC Grant “The Selective Delivery of Drug Carriers to Bone
                             Marrow” (with Prof SS Davis and Dr PM Williams)

     1989     £15,000        Reckitt and Colman "Novel microparticulate systems for oral
                             drug delivery", (with Drs C Wilson and CD Melia).

              £5,000         Courtaulds Research, contribution towards SERC Case award,
                             "FT-Raman spectroscopy of biomaterials".
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             £33,950     SERC, "ToF-SIMS analysis of polymeric biomaterials and
                         pharmaceuticals".

             £67,653     SERC, (1989-1992) “Drug targeting to tissue sites using colloidal
                         delivery systems: phase 2 Biodegradable colloids” (with Profs SS
                         Davis and L Illum)

     1990    £40,000     SERC, "SIMS analysis of biomaterials"(with Profs SS Davis and JV
                         Wood).

             £46,000     SERC, "Novel microparticles for colonic drug delivery",
                         (cooperative award with Reckitt and Colman); (with Drs CD
                         Melia, CG Wilson and R Spiller).

             £32,000     Dow (Europe) "Controlled release of drugs from novel polymer
                         systems", (with Dr CD Melia).

             £52,000     SERC, "Biodegradable colloids for drug targeting", (cooperative
                         award with ICI Pharmaceuticals); (with Prof SS Davis).

             £80,000     EEC BRITE award, "Surface analysis of hydroxyapatite
                         biomaterials coatings".

             £620,000    EEC BRITE award "Novel surface coatings for colloidal
                         particulates", (with Prof SS Davis).

             £6,000      Celltech "STM of monoclonal antibodies", (with Dr SJB Tendler).

     1991    £1,032,000 MAFF/DTI /LINK Scheme "The hydration of food and
                        pharmaceutical systems in food and pharmaceutical industries"
                        (with Drs CD Melia, DE Jackson and J Mitchell).

             £58,000     SERC "Surface characterization and chromatographic behaviour
                         of alkyl bonded silaceous chromatographic materials", (with Drs P
                         N Shaw and D Barrett).

             £420,000    SERC/DTI LINK scheme "The development of scanning
                         tunnelling microscopy into a biophysical tool for the investigation
                         of protein structure and function" with VG Microtech and Glaxo
                         Group Research (with Drs S J B Tendler and D E Jackson).

             £91,000     Kelco International "A study of hydrophilic characteristics of
                         alginate and xanthan"(with Drs J R Mitchell and C D Melia).

             £39,000     Viggo-Spectramed "Surface interaction of drugs with
                         polymers".

             £15,000     Dow (Europe), additional funds for the project, "Controlled
                         release of drugs from novel polymer systems", (with Dr
                         C.D.Melia).

     1992    £111,640    SERC Teaching company scheme "Colon drug delivery" (with
                         Drs Spiller, Wiseman, and Haresign) with Danbiosyst.

             £87,000     EEC BRITE award "Design and evaluation of a heparin adsorbing
                         filter for application in extracorporeal haemodialysis" in
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                        collaboration with the Universities of Gent and Brescia [At
                        Nottingham].

             £140,000   EEC BRITE award "The development of improved biocompatible
                        materials for urological and other medical devices" in
                        collaboration with Kodak Ltd, Fidia spa, Universities of Naples,
                        Brighton and Gent and St Bartholomews Hospital. [At
                        Nottingham]

     1993    £742,000   SERC/DTI LINK scheme, Nanotechnology initiative "The
                        development of atomic force microscopy for biomedical
                        applications in nanotechnology" with Kodak Ltd, VG Microtech,
                        and Oxford Molecular. Equipment donated by Hewlett Packard
                        (with Drs S J B Tendler and D E Jackson).

             £82,798    SERC "Surface modification of porous graphitic carbon as a
                        chromatographic support for the separation of chiral and polar
                        compounds" with Shandon Scientific (with Drs P N Shaw and D
                        Barrett).

             £45,000    SERC “An integrated surface plasmon resonance / scanning
                        probe microscope for biomolecular analysis” (with Drs S J B
                        Tendler and D E Jackson).

             £37,748    Courtaulds “Studentship to study the surface analysis of
                        surfactant adsorption at polymer films” (with Dr S J B Tendler).

             £36,000    SERC Case Award with SmithKline Beecham “Scanning probe
                        microscopy of biomolecular structure and function” (with Dr S J
                        BTendler).

     1994    £144,911   SERC “Novel polymer support materials for the chromatographic
                        separation of biomolecules” with Polymer Laboratories (with Drs P
                        N Shaw and D Barrett).

             £36,000    Alpha-Beta Ltd “Studentship on Scanning Probe Microscopy
                        studies of novel polysaccharides” (with Dr S J B Tendler).

     1995    £54,855    EPSRC (1995-1997) “Novel algorithms for the investigation and
                        reconstruction of surface structure by scanning probe
                        microscopy” (with S J B Tendler and C J Roberts).

             £38,000    Lilly Group Research (1995-1998) “Scanning probe microscopy
                        of biomolecular structure” (with S J B Tendler and C J Roberts).

             £126,136   BBSRC, “Chromatographic materials for the specific separation of
                        oligonucleotides and nucleic acids” (with Drs P N Shaw and D A
                        Barrett).

             £24,641    EPSRC Project Grant (1995-1997) "Probing forces of molecular
                        interactions" (with SJB Tendler and CJ Roberts).

             £36,000    Oxford Molecular/University of Nottingham (1995-1998)
                        "Computational investigations of scanning probe microscopy"
                        (with S J B Tendler and C.J.Roberts).
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             £472,974   EPSRC Project Grant (1995-1999) “The development of a
                        unique imaging TOFSIMS instrument with femtosecond laser
                        positionization capability” (with Prof JC Vickerman and Drs CM
                        Carr and GJ Leggett)

     1996    £150,521   EPSRC (1996-1998) "The development of advanced analytical
                        tools for the rapid screening of immobilized combinatorial
                        libraries" (with S.J.B.Tendler and C.J. Roberts).

             £160,000   Cancer Research Campaign Programme Grant (1996-2000)
                        "SPM Studies of drug-DNA interactions" (with S.J.B.Tendler and
                        M.F.G. Stevens).

             £212,000   BBSRC Equipment and Industry Initiative "The development
                        of a near-field optical probe technology into a biophysical tool for
                        the study of biomolecular and biological systems". BBSRC
                        £106,000, Topometrix Corporation £106,000.(with S.J.B.Tendler
                        and C.J. Roberts).

             £151,456   BBSRC Project Grant (1996-1999) "Probing and optimising
                        immunosensor surfaces at the molecular level" (with
                        S.J.B.Tendler, C.J. Roberts and Johnson and Johnson Clinical
                        Diagnostics).

             £60,000    Hewlett-Packard Instrument Donation (1996-1997)
                        "Computational algorithms for scanning probe microscopy
                        analysis" (with S.J.B.Tendler, C.J. Roberts and P.M. Williams).

             £25,333    EPSRC Project Grant (1996-1997) "The characterization of
                        refractive index in thin films to nanometre spatial resolution"
                        (with S.J.B.Tendler, P.M. Williams and C.J. Roberts).

             £14,000    SmithKline Beecham plc (1996-1999) "Scanning probe
                        microscopy studies of biomolecular structure and function" (with
                        S.J.B.Tendler and C.J. Roberts).

             £15,000    Severn Trent plc (1996-1999) "Electrokinetic analysis -
                        applications in pharmaceutical analysis" (with S.J.B.Tendler and
                        C.J. Roberts).

             £104,833   Action Research (1996-1999) " The role of protein interactions
                        with novel polymers used in tissue repair" (with S.J.B.Tendler, S
                        Downes and C.J.Roberts).

             £30,000    Royal Society Paul Instrument Fund (1996-1997) "For the
                        construction of a quantitative intermolecular force sensor" (with
                        S.J.B.Tendler and C.J. Roberts).

             £47,413    Elan Corporation (1996-1997) “Surface Chemistry of peptide
                        grafted polymer surfaces” (with S J B Tendler and C.J.Roberts).

     1997    £132,684   BBSRC Project Grant (1997-2000) “Atomic force microscopy
                        characterisation of the molecular forces of adhesion in nucleic
                        acids” (with S J B Tendler, C J Roberts and C Laughton).
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             £145, 656   BBSRC Project Grant (1997-2001) “The study of biomolecular
                         and biomedical systems by near-field optical microscopy” (with S
                         J B Tendler, C J Roberts and P M Williams).

             £554,000    BBSRC Link Scheme (Analytical Biotechnology Initiative)
                         (1997-2001) “Two-dimensional mapping of molecular interactions
                         at the interfaces of next generation immunoassay systems”
                         £230,000 -           BBSRC,
                         £264,000 -           Johnson and Johnson Clinical Diagnostics,
                         £60,000       -      Digital Instruments/LOT Oriel.
                         (with S J B Tendler, C.J. Roberts and P.M. Williams).

             £59,129     Glaxo Wellcome Project Grant (1997-1998) “Biophysical
                         evaluation of DNA-Lipid complexes” (with P M Williams, C J
                         Roberts and S J B Tendler).

             £14,000     SmithKline Beecham plc (1997-2000) "Surface
                         characterization of drug crystals using novel atomic force
                         microscopy techniques" (with S J B Tendler, P.M.Williams and C.J.
                         Roberts).

             £15,000     Biocompatibles plc (1997-2000) "SPM studies of biocompatible
                         surfaces" (with S J B Tendler, P.M. Williams and C.J. Roberts).

             45,812      EU Human Captital Mobility Award "Study of Biointeractions
                         at ECU functionalized polymeric surfaces" (with S.J.B.Tendler,
                         C.J. Roberts and S O Vansteenkiste, Universiteit Gent, Belgium ).

             £30,000     BBSRC Special Studentship (1997-2000) "Regulation of
                         peptide epitope and mimotope recognition by antibodies (with
                         SJB Tendler and MR Price).

             £147,121    BBSRC Project Grant (1999-2000), “The study of biomolecular
                         and biomedical surfaces by near-field optical microscopy” (with
                         SJB Tendler and CJ Roberts).

     1998    182,000     EU BRITE- EURAM Programme “Lipostin”. Partners ECU
                         include Universities of Brighton, Gent, Naples and Milan (with S
                         Howdle).

             £43,000     Elan Corporation Project Grant “Surface Chemistry of peptide
                         grafted polymer surfaces II” (with SJB Tendler, PM Williams and
                         CJ Roberts).

             £158,980    BBSRC Project Grant (1998-2001) "Spatially controlled cell
                         engineering: A strategy to control nervous tissue micro-
                         architecture" (with K Shakesheff, SJB Tendler, PM Williams and
                         CJ Roberts).

             £13,200     University of Nottingham, Research Committee "A
                         bioengineering solution to the prevention of bacterial colonisation
                         on biomaterials" (with K Shakesheff and Miguel Camara).

             £251,328    EPSRC Project Grant (1998-2001) "Manufacturing of
                         Biointeractive Scaffolds for Tissue Engineering using Supercritical
                         Fluid Technology" (with SM Howdle & Kevin Shakesheff).
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             £15,000     Oxford Molecular/BBSRC CASE Award (1998-2001)
                         "Computational studies on biomolecular recognition" (with SJB
                         Tendler, CJ Roberts & PM Williams).

             £30,000     Royal Pharmaceutical Society Studentship (1998-2001)
                         "AFM studies of drug/DNA interactions" (with SJB Tendler, CJ
                         Roberts & PM Williams).

             £30,000     BBSRC Special Studentship (1998-2001) "Near-field probe
                         microscopy of micro-patterned biomolecular surfaces in aqueous
                         environments" (with SJB Tendler, CJ Roberts, & PM Williams).

             £30,000     University of Nottingham/Orthoclinical Diagnostics
                         Studentship (1998-2001) "Manipulation of biomolecules by
                         optical tweezers and probe microscopy in an epifluorescence
                         optical microscope" (with SJB Tendler, CJ Roberts & PM
                         Williams).

             £9,762      Royal Society Equipment Award (1998-1999) "Combined
                         optical tweezers and atomic force microscopy" (with SJB Tendler,
                         CJ Roberts & PM Williams).

             £51,202     EPSRC Analytical Science Programme Project Grant (1998-
                         2001) "Analysis of near-field optical contrast: Chemical sensing
                         at the nanoscale" (with SJB Tendler, CJ Roberts & PM Williams).

     1999    £338,960    EPSRC Project Grant (1999-2002) "Instrumentation for the
                         spatial analysis of reactions at interfaces" (with PM Williams, Dr
                         CJ Roberts, SJB Tendler, KM Shakesheff).

             £173,648    BBSRC Project Grant (1999-2001) "The Dynamics of
                         Biomolecules at Interfaces studied by Pulsed Force Atomic Force
                         Microscopy" (with SJB Tendler, CJ Roberts, PM Williams).

             £37,000     EPSRC Industrial Studentship with SmithKline Beecham
                         (1999-2002) "Initiation and growth of drug crystals" (with CJ
                         Roberts, SJB Tendler, PM Williams, H Saibil, London).

             £251,328    EPSRC Project Grant (1999-2002) “Manufacturing of
                         biointeractive scaffolds for tissue engineering using super critical
                         fluid technology” (with Profs S Howdle and KM Shakesheff).

             £34,000     BBSRC Special Studentship (1999-2002) "3D reconstruction
                         of structure" (with SJB Tendler, CJ Roberts, PM Williams).

             £2,200,00   Joint Infrastructure Fund (1999-2001) "New Institute of
                         Pharmaceutical Sciences" (with BW Bycroft (Principle applicant)
                         and SJB Tendler).

     2000    £223,123    EPSRC Multi User Equipment Grant (2000-2002) "The
                         thermal characterisation of materials at the sub-micron scale by
                         scanning thermal microscopy" (with CJ Roberts, SJB Tendler, SM
                         Howdle, KM Shakesheff, DM Grant, PM Williams, S Allen).

             £301,000    BBSRC Project Grant (2000-2003) "Cryogenic Force
                         Microscopy of Biomolecular Structure" (with SJB Tendler, CJ
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                        Roberts, PM Williams, S Allen, Oxford Instrument and SmithKline
                        Beecham).

             £153,540   BBSRC Project Grant (2000-2003) "The investigation of
                        molecular interactions in ribonucleic acids" (with S Allen and SJB
                        Tendler).

     2001    £365,000   EPSRC Strategic Equipment Initiative Grant “Time-of-flight
                        secondary ion mass spectrometry” (with D Briggs & M Chesters).

             £60,330    EPSRC Project Grant (2001-2004) "The development of a
                        magnetically controlled force microscope, for high resolution
                        single molecule force spectroscopy" (with S Allen, CJ Roberts,
                        SJB Tendler, PM Williams).

             £348,903   EPSRC Project Grant (2001-2004) “The direct measurements
                        of single macromolecule-membrane interactions” (with P O’Shea,
                        & S Allen).

             £229,428   BBSRC Grant (2001-2004) “Biomembrane force probe for
                        mapping energy landscapes in protein interactions and folding”
                        (with S Allen, SJB Tendler, P Williams & CJ Roberts).

     2002    £653,331   EPSRC Grant (2002-2005) “Characterisation of Surfaces, Thin
                        Films and Nanometre Scale Structures by X-Ray Photoelectron
                        Spectroscopy” (with D Briggs, SJB Tendler, CJ Roberts, KM
                        Shakesheff, MA Chesters, SM Howdle, Dr P Moriarty).

             £109,756   EU Marie Curie Training Site Status “Atomic Force Microscopy
                        of Biomolecules & Materials Relevant to Healthcare”

             £253,703   EPSRC Grant (2002-2005) “Biomimetic Fibres for Tissue
                        Engineering” (with KM Shakesheff, CD Melia, D Briggs and C
                        Ives).

     2003    £24,000    BBSRC Case Studentship with GlaxoSmithkline (2003-2006)

             £20,000    EPSRC Case Studentship with Avecia (2003-2006)

     2005    £299,658   BBSRC Grant (2005-2008) “Defining nanoscale high through-put
                        screening of stem cell - biomaterial interactions”

                        BBSRC Strategic Studentship “Nanoscale analysis of polymer
                        microarrays for biomaterial stem cell interaction”

             £324,976   EPSRC Grant (2005-2008) “Pico-Newton MEMS Technology for
                        Biological Force Measurement”

     2006    £222,024   Tibotec Pharmaceuticals Ltd (2006-2008) “Characterisation of
                        solid dispersions” (with C Roberts)

             £558,000   Nitto Denko Corporation (2006-2008) “Development of a novel
                        nanoparticulate systems for mucosal delivery (nasal and buccal)”
                        (with S Stolnik, C Roberts)

             £186,268   EPSRC (2006-2010) “Colloidal Cell Delivery Systems” (with C
                        Alexander, K Shakesheff)
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     2007    £362,695     EPSRC (2007-2012) “Centre for comprehensive materials
                          analysis” (with C Roberts, R Jones, J Henderson, P Brown, M
                          Alexander)

     2008    £1,121,481   Wellcome   Trust (2008-2012) “Polymers resistant to bacterial
                          colonization” (with M Alexander and P Williams)

     2009                 3M studentship on inhalation particulate interactions

     2010    £33,699      Abbott studentship on drug eluting stents (2010-2013)

             £1,965,861   EPSRC (2010-2013) “Future-proof synthetic surfaces for the
                          automated manufacture of human pluripotent stem cells (with M
                          Alexander, C Denning, L Young and D Barrett)

             £20,006      RPSGB studentship (2010-2013)

     2011                 International student (with J.Burley & M.Alexander)

     2012    £25,000      University of Nottingham Hermes Fellowship “Building a case
                          for first-in-man anti infection catheter trial” (with M.A.Alexander,
                          and P.Williams) (2/12-8/12)

     2014    $140,000     J&J Vision (with M.A.Alexander, C.J.Roberts and M.Piggott)
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     PUBLICATIONS RELATED TO RESEARCH
     All papers cited below have been reviewed within peered-reviewed journals and books.

     FULL PAPERS

     1.    J.C. Gilbert, C.Washington, M.C.Davies, and J.Hadgraft "The behaviour of Pluronic
           F-127 in aqueous solution studied using fluorescent probes" International
           Journal of Pharmaceutics 40, 93-99 (1987).

     2.    J.C.Gilbert, J.L.Richardson, M.C.Davies, K.J.Palin and J. Hadgraft "The effect of
           solutes and polymers on the gelation properties of Pluronic F-127 solutions for
           controlled drug delivery" Journal of Controlled Release 5, 113-118 (1988).

     3.    M.C.Davies, A.Brown, J.M.Newton and S.R.Chapman "SSIMS and SIMS imaging
           analysis of a drug delivery system" Surface and Interfacial Analysis 11, 591-
           595 (1988).

     4.    R.A.P.Lynn, M.C.Davies, R.D.Short, S.S.Davis, J.C.Vickerman and P. Humphrey
           "Characterization of polymer colloids by SSIMS and XPS" Polymer
           Communications 29, 365-367 (1988).

     5.    D.W.Fakes, M.C.Davies, J.M.Newton and A.Brown "The surface analysis of a
           plasma modified contact lens surface by SSIMS" Surface and Interfacial
           Analysis 13, 233-236 (1988).

     6.    M.C.Davies, R.D.Short, J.C.Vickerman and P.Humphrey "The analysis of cellulose
           ethers by secondary ion mass spectroscopy" Polymer and Material Science
           and Engineering 59, 729-733 (1988).

     7.    M.C.Davies, R.D.Short, S.P.Denyer, J.C.Vickerman, M.A.Khan, S.S.Davis and
           P.Humphrey "The surface characterization of untreated and plasma modified
           polyesters by SSIMS, XPS and bacterial adhesion" ibid, 59, 739-743 (1988).

     8.    M.Roberts, M.C.Davies, S.S.Davis and P. Williams "The production of stable,
           protein coated microspheres" Journal of Colloid and Interfacial Science,
           132(2), 585 - 588 (1989).

     9.    M.C.Davies, A.Brown, M.A.Khan and P.Humphrey "Quantitative static secondary
           ion mass spectrometry analysis (SSIMS) of polymers" 6th International
           Conference on SIMS, Versailles, Ed A.Benninghoven, A.M.Huber and
           H.W.Werner, J. Wiley, 667-690 (1989).

     10.   M.C.Davies, R.D.Short, M.A.Khan, J.F.Watts, A.Brown, A.J.Eccles, P. Humphrey,
           J.C.Vickerman and M.Vert "An XPS, static SIMS and ToF-SIMS analysis of
           biodegradable biomedical polyesters" Surface and Interfacial Analysis, 14,
           115-120 (1989).

     11.   R.D.Short and M.C.Davies "Radical cations in SIMS spectra of polymers"
           International Journal of Mass Spectrometry and Ion Formation, 89, 149-
           155 (1989).

     12.   F.Koosha, M.C.Davies, R.H.Muller and S.S.Davis "The surface chemical structure of
           poly(B-hydroxybutyrate) microparticles produced by the solvent evaporation
           process" Journal of Controlled Release, 9, 149-157 (1989).
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     13.   M.C.Davies, I.R.Wilding, R.D.Short, M.A.Khan, J.F.Watts and C.D.Melia "An
           analysis of the surface chemical structure of Eudragit film coating polymers by
           XPS" International Journal of Pharmaceutics, 57, 183-187 (1989).

     14.   R.K.Kallury, V.J.Kroll, M.Thompson, R.D.Short and M.C.Davies "XPS and SSIMS
           analysis of phospholipids immobilized to silanized silica surface" Analytical
           Chemica Acta, 225, 369-389 (1989).

     15.   S.P.Denyer, J.A.Evans, M.C.Davies, R.G.Finch, D.G.E.Smith, M.H.Wilcox and
           P.Williams "Phenotypic changes in Staphylococcal cell surface characteristics
           associated with growth in human peritoneal dialysis fluid", in: Pathogenisis of
           Wound and Biomaterial-Associated Infections, Eds: T.Wadstrom, L.Eliasson
           and A.Ljungh, Springer-Verlag London UK, 450-455 (1990).

     16.   M.C.Davies, R.C.Rowe and R.D.Short "Surface chemical characterization of
           cellulose derivatives by SSIMS" In: Cellucon 89, P. A.Williams, Ed., Ellis Horwood
           Ltd, Chichester, (Chapter 43) 345-352 (1990).

     17.   M.C.Davies, I.R.Wilding, C.D. Melia and A. Brown) "SSIMS analysis of Methacrylate
           copolymers" Journal of Applied Polymer Science 39, 1827-1835 (1990).

     18.   M.C.Davies, M.A.Khan, R.D.Short, C.Pouton, M.K.Aktar and J.F.Watts "SIMS and
           XPS analysis of poly(caprolactone) and poly(hydroxybutyrate-valerate)
           copolymers" Biomaterials, 11, 228-234 (1990).

     19.   M.C.Davies, R.A.P.Lynn, S.S.Davis and J.Hearn "Surface analysis of polymer latex
           particles by SIMS and XPS" Polymer and Material Science and Engineering,
           62, 889-894 (1990).

     20.   S.P.Denyer, J.A.Evans, M.C.Davies, R.G.Finch, D.G.E.Smith, M.H.Wilcox and P
           Williams) "Influence of carbon dioxide on the surface characteristic and adherence
           potential of coagulase-negative staphylococci", Journal of Clinical Microbiology,
           28, 1813-1817 (1990).

     21.   M.C.Davies, I.R.Wilding, R.D.Short, C.D.Melia and R.C.Rowe "The in situ chemical
           analysis of polymer film coatings using static secondary ion mass spectrometry
           (SSIMS)" International Journal of Pharmaceutics, 62, 97-103 (1990).

     22.   M.C.Davies, D.E.Jackson, M.R.Price and S.J.B.Tendler "Scanning tunneling
           microscopy imaging of the tumor associated antigenic 20 amino acid human
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